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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 16 CR 438–1
       v.
                                            Judge John Z. Lee
 ARTEM VAULIN, also known as “tirm”


                        UNOPPOSED STATUS REPORT

      The United States of America, by its attorney, JOHN R. LAUSCH, JR.,

submits the following status report: Defendant is still undergoing extradition

proceedings in Poland, and the parties are not currently aware of a timetable for a

resolution of those proceedings. Accordingly, no discovery has been produced, and the

parties do not currently need a court date to be set within the next 60 days. If that

changes, the parties will contact the Court. The parties are not currently engaging

in plea negotations.

      Counsel for the government has contacted defendant’s local counsel, who

indicated that he had no objection to this report.
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Dated:     August 7, 2020            Respectfully submitted,

                                     JOHN R. LAUSCH, JR.
                                     United States Attorney

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